           Exhibit 15




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                              No. 11-345

                                IN THE
              Supreme Court of the United States
                         ABIGAIL NOEL FISHER,
                                                Petitioner,
                                   v.

                 UNIVERSITY OF TEXAS AT AUSTIN, et al.,
                                                Respondents.


             On Writ of Certiorari to the United States
               Court of Appeals for the Fifth Circuit

                 BRIEF OF AMICUS CURIAE
            THE UNIVERSITY OF NORTH CAROLINA
         AT CHAPEL HILL SUPPORTING RESPONDENTS

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               The University of North Carolina at Chapel Hill
           (“UNC” or “University”) is the nation’s oldest public
           university. 2 As a flagship public institution,
           generously supported by North Carolina’s General
           Assembly, it embraces a mission far broader than
           providing rigorous education to individual students.
           UNC must assess the multiple challenges facing the
           State and region—economic, social, legal, medical,
           educational, and political—and prepare thousands of
           graduates in every generation to meet those
           challenges.
                UNC alumni have long taken roles as leaders in
           all areas of public life, both in the State and beyond.
           During the seventy years before the Civil War, the
           University produced one United States president, a
           vice president, twenty governors, eight senators,
           forty-one members of the House of Representatives,
           and “innumerable numbers of judges, state
           legislators, and justices of the peace.” 3 Since that
           1 Letters from the parties, consenting generally to the filing of

           brief by amici curiae, are on file with the Court. Pursuant to
           Rule 37.6, counsel represent that this brief was not authored in
           whole or in part by counsel for any party. No entity other than
           the amicus curiae made a monetary contribution to the
           preparation or the submission of the brief.
           2 William S. Powell, The First State University 4–10 (3d ed.
           1992). The University was authorized by the North Carolina
           Constitution of 1776 and chartered in 1789. It first opened its
           doors to students in 1795. Id.
           3James L. Leloudis, Schooling the New South: Pedagogy, Self,
           and Society in North Carolina, 1880-1920 50 (1996). See also
           William K. Boyd, 2 History of North Carolina: The Federal
           Period 1783-1860 362–63 (1919).
                                          1




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           time, a flow of remarkably talented graduates have
           left UNC to become governors, authors, journalists,
           judges, legislators, playwrights, among other
           distinguished careers 4. Yet in the era of rigid racial
           segregation stretching from the late 19th century
           until well into the middle of the 1960s, UNC, like
           virtually every Southern college and university,
           excluded all African Americans and Native
           Americans. 5 Only when confronted with litigation
           did UNC begin to desegregate. In 1955, the year

           4The University’s many distinguished graduates have included
           Taylor Branch, Erskine Bowles, David Brinkley, Mary Sue
           Coleman, Lawrence Ferlinghetti, Sallie Krawcheck, Charles
           Kuralt, David Sentelle, Paul Wellstone, and Thomas Wolfe.
           See http://en.wikipedia.org/wiki/List_of_University_of_North_
           Carolina_at_Chapel_Hill_alumni
           5 A post-Reconstruction era amendment to the North Carolina
           Constitution of 1868, art. 9, § 2, provided: “And the children of
           the white race and the children of the colored race shall be
           taught in separate public schools; but there shall be no
           discrimination in favor of, or to the prejudice of, either race.”
           This section was not abolished until the Court’s decision in
           Brown v. Bd. of Educ., 347 U.S. 483 (1954). See John V. Orth,
           The North Carolina State Constitution: A Reference Guide 145
           (1993). Over a century later, a federal court noted that, as of
           1970, “the states of Louisiana, Mississippi, Oklahoma, North
           Carolina, Florida, Arkansas, Pennsylvania, Georgia, Maryland,
           and Virginia were operating segregated systems of higher
           education in violation of Title VI”. Adams v. Richardson, 351 F.
           Supp. 636, 637–38 (D.D.C. 1972). See Harry T. Edwards, A
           New Role for the Black Law Graduate—A Reality or an
           Illusion?, 69 MICH. L. REV. 1407, 1409 (1971) (reporting U.S.
           Census data showing that in 1970, despite a population of over
           8.8 million, there were only 393 African American lawyers,
           combined, in the southern states of Alabama, Arkansas,
           Florida, Georgia, Louisiana, Mississippi, North Carolina,
           Tennessee, and Virginia).
                                          2




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           after this Court’s Brown decision, brothers Ralph
           and LeRoy Frasier and John Brandon became its
           first African American undergraduates. 6 Even a
           decade later, only a handful of African Americans
           had ever set foot, as students, onto the Chapel Hill
           campus.
                Thanks to the national dialogue in the 1960s
           over civil rights, the Civil Rights Act of 1964,
           significant changes in leadership and attitudes
           within the State and at UNC, as well as this Court’s
           guidance, the University began to undertake, slowly
           at first but with increasing speed, a program to open
           its doors to students of all racial and ethnic
           backgrounds. 7 In so doing, UNC sought not only to
           redeem its past legacy of exclusion but to build a
           future educational training ground that would
           nurture all of the State’s most talented individuals
           to serve the State’s unfolding needs.
               These transformative changes—and similar
           steps to broaden admissions by colleges and
           universities across North Carolina—led to an
           unparalleled expansion in the overall educational
           attainment of the State’s residents and an enriched
           educational environment in which cross-cultural
           understandings have been nurtured. The presence of
           a larger, multi-racial pool of well-trained college
           graduates has, in turn, helped the State flower as a
           national    center     for    banking,     high-tech

           6William A. Link, William Friday: Power, Purpose, and
           American Higher Education 82-83 (1995).
           7 Throughout this brief, to avoid redundancy, amicus will refer
           to diversity by race, ethnicity, and national origin as “racial
           diversity.”
                                         3




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           pharmaceutical and technology research, and
           electronics innovation. The Research Triangle in
           North Carolina now lures corporations and research
           facilities from around the world, principally because
           of its outstanding pool of college-trained workers and
           the proximity of highly sophisticated research
           universities open to all of the State’s most talented
           youth. 8
               The University knows that its present and
           future prospects depend upon drawing students with
           a broad range of talents from every source—from the
           remotest counties of its mountainous west, from its
           easternmost Outer Banks, and from every school in
           between. 9 In so doing, it individually considers each
           potential    student’s     talents    and     academic
           achievements,     character,     and    initiative  in
           surmounting family and community circumstances,
           including poverty and/or attendance at substandard
           K-12 schools. As part of this holistic review, UNC
           has found that some careful and limited

           8 See generally Rick L. Weddle, Research Triangle Park:
           Evolution      and      Renaissance     2-9      (2006),
           http://www.rtp.org/sites/default/files/RTP_History_0.pdf.
           9 In that spirit, the UNC School of Law, in 2003, with the
           University’s approval, filed an amicus brief in Grutter v.
           Bollinger, 539 U.S. 306 (2003), urging continued approval of
           the practices sanctioned by Justice Powell in Regents of the
           Univ. of Cal. v. Bakke, 438 U.S. 265 (1978), and citing many of
           the goals eventually held to be constitutionally compelling
           interests in Justice O’Connor’s majority opinion. Since that
           time, along with the vast majority of public colleges and
           universities, the University has continued to admit entering
           classes of promising students after holistic consideration of
           their individual promise, with race as one among a myriad of
           potential considerations.
                                          4




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           consideration of race is indispensable in fulfilling its
           mission.
                As a flagship state university, UNC believes that
           the freedom to recruit and enroll a diverse student
           body is necessary to fulfill its educational mission
           and its core commitments to the State and its future.
           This conviction is based on more than untested
           belief; the University has strong empirical evidence
           of the positive value of bringing students from
           differing racial backgrounds into its classrooms, its
           dormitories, and its extra-curricular activities. Any
           holding that would foreclose its ability to consider
           race in admissions would undercut decades of
           Supreme Court precedents and establish a new
           standard of review that would prohibit UNC and
           other public institutions of higher education—long
           recognized as special marketplaces of ideas—from
           making their own determinations about who will be
           successful students. To confirm the wisdom and
           utility of the Court’s traditional jurisprudence in this
           area and to warn of the troubling implications of
           Petitioner’s argument to the contrary, constitute our
           interest in this case.
                       SUMMARY OF ARGUMENT
               UNC’s mission is to serve as a center for
           research, scholarship, and creativity, and to turn a
           diverse community of students into the next
           generation of leaders. To develop this diverse
           community and meet the growing needs and
           interests of the State, UNC has carried out its
           program of undergraduate admissions in faithful
           response to Regents of the University of California v.
           Bakke and, more recently, Grutter v. Bollinger. It
                                      5




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           has done so contextually, mindful not only of its
           obligation to individual students, but also of its
           wider obligation to provide the State of North
           Carolina with well-prepared graduates who can lead
           in this increasingly diverse society. Although the
           number of undergraduate applicants to UNC has
           grown from 10,397 in 1978 to 29,501 in 2012, UNC’s
           admissions process remains highly nuanced and
           multi-faceted, considering more than forty factors in
           eight broad areas to make selections for an incoming
           class of approximately 4,000 undergraduates. The
           process is far from mechanistic; not only are no rigid
           numerical formulae applied, but every student’s file
           is read by multiple readers. Race is never a basis for
           classifying or separately considering applicants.
               The University’s commitment to individualized,
           holistic admissions practices relies upon internal
           evaluations and social scientific evidence about the
           positive impact of such practices. For example, a
           vast,     soon-to-be-published    empirical    study,
           completed by Professors Charles E. Daye and A.T.
           Panter (UNC) Walter R. Allen (UCLA) and Linda F.
           Wightman (UNC-Greensboro) of the Educational
           Diversity Project (“the EDP Study”), explores three
           overlapping ways in which racial diversity produces
           positive, measurable, educational differences. 10 The
           EDP Study’s evidence reinforces, with extensive

           10 See Charles Daye et al., Does Race Matter in Educational
           Diversity? A Legal and Empirical Analysis, 13 Rutgers Race &
           L.    Rev.    __    (forthcoming    2012),    available    at
           http://ssrn.com/abstract=2101253. The study used a random
           sample of 6,100 students from a random sample of 50 ABA-
           approved law schools, with            high minority student
           representation, followed over three years.
                                        6




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           quantitative data, key insights that the University
           has long observed first-hand: that outstanding
           students from diverse backgrounds can come to
           campus, thrive academically, enrich the experience
           of their fellow students, and go forth to become
           leaders in vital areas of state life.
               Prompted by its dual commitment to excellence
           as one of the world’s great research universities and
           to the mission of improving society, UNC bears the
           burden to assure a steady flow of talented doctors,
           lawyers, pharmacists, nurses, public health officials,
           elementary and secondary teachers, business
           leaders, scientists, entrepreneurs, political leaders,
           and judges—all of whom will need to be comfortable
           working in racially diverse settings. This is a
           compelling state interest of the highest order. Any
           university that cannot provide its 21st century
           undergraduates with ample exposure to the multi-
           racial settings in which they will spend their
           professional lives will have failed them and the
           broader society that sorely needs their professional
           expertise.
               In sum, the University’s nuanced consideration
           of race as one factor among many is grounded in its
           academic judgment that racial diversity improves
           the education of all UNC students while building a
           stronger state, nation and world. Both UNC’s choice
           of an educational mission and its judgment that
           students from different racial backgrounds best
           serve that mission constitute exercises of the
           academic freedom that Justice Powell acknowledged
           in Bakke as a special concern of the First
           Amendment. The University’s considered judgment
           concerning the selection of its students should be
                                     7




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           afforded, as Justice Powell instructed and Justice
           Kennedy later affirmed in his Grutter dissent, “wide
           discretion” due to the “countervailing constitutional
           interest” of the First Amendment, 11 which should
           continue to be recognized by the Court.
               The      petitioner’s     exceedingly    narrow
           reinterpretation of the Equal Protection Clause
           would undermine the constitutional foundation on
           which UNC and other public institutions of higher
           education have built for nearly two generations.
           Since Bakke in 1978, UNC and most public
           universities have been constitutionally supported in
           considering race as a limited, though important,
           factor, among scores of others, when making
           admissions decisions. Public universities have
           undertaken this consideration in measured fashion,
           with no apparent societal destruction or documented
           educational decline, free from the serious threat of
           federal litigation from disappointed eighteen-year-
           old applicants or their parents.
               Yet petitioner presses the Court for a radical
           new regime in which universities brave enough to
           consider race as a factor in admissions must first
           commission recurrent social science studies to assess
           the necessity, effectiveness, and impact of their
           practices—assembling prima facie evidence that
           would require evaluation of scores of factors in tens
           of thousands of applications over many years. Even
           armed with such studies, public universities would
           need to stand on constant watch to defend
           themselves, in federal court, against disappointed

           11Grutter, 539 U.S. at 370 (Kennedy, J., dissenting) (citing
           Bakke, 438 U.S. at 313).
                                        8




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           applicants willing to claim that the denials of their
           individual applications turned upon the use of race.
           This regime would inaugurate a new era of
           educational “strike suits,” in which only the richest,
           or bravest, or most foolhardy colleges would continue
           to consider race, even to advance institutional and
           societal goals that many embrace in the greatest
           good faith.
                As a consolation, petitioner assures the Court
           that all will be well by pointing to Texas’s top 10%
           automatic admissions practice, which ostensibly
           achieves the diversity deemed desirable by
           universities in a “race neutral” manner.           Yet
           whatever the value of such a system in Texas, its
           adoption in North Carolina would assure racial
           diversity only by (1) depriving UNC of the judgment
           of its wisest and most experienced admissions
           officials in selecting 80% or more of each entering
           class; (2) using rigid mathematical formulae to
           identify entrants, both white and non-white; (3)
           lowering the overall quality of UNC’s entering
           freshman classes; and (4) implicitly allowing
           gamesmanship by anxious parents who might well
           search for weaker school districts in which to enroll
           their high school juniors or seniors to improve their
           “top ten percent” chances of college admission. 12



           12See, e.g., Julie Cullen, Mark C. Long & Randall Reback,
           Jockeying for Position: Strategic High School Choice Under
           Texas’ Top Ten Percent Plan 2–3 (Nat’l Bureau of Econ.
           Research, Working Paper No. 16663, 2011) (reporting that,
           among Texas high school students with the opportunity to
           choose, as many as 25% enroll in a different, less competitive
           high school in order to improve their chances of being in the top
                                          9




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                Before accepting this invitation to abandon
           Bakke and Grutter, diminish the academic freedoms
           of universities, and transform admissions practices
           nationwide, the Court should ask what, short of
           truly “compelling interests,” presently motivates
           universities from coast to coast—public and private,
           religious and secular, coeducational and single-sex,
           elite doctoral research universities and regional four-
           year colleges—to include some modest consideration
           of race in their otherwise very different admissions
           systems? Why would hundreds of boards of trustees,
           led by leaders of business, industry, and public life—
           each of whom owes deep fiduciary duties to their
           respective institutions—persist in supporting
           admissions officials who seek diverse student bodies,
           if not for their genuine conviction that this diversity
           affords meaningful educational benefits to the
           schools and their graduates? 13
               Yet to petitioner, neither the good faith
           judgment of these trustees nor the vast experiences
           of the thousands of officials who administer
           America’s universities day-to-day, appear to matter


           ten percent upon graduation, and adding that they “typically
           displace minority students from the top ten percent pool”).
           13  Beyond college administrators and trustees, UNC has
           evidence that its students highly value diversity in their
           undergraduate experience. Each year UNC surveys every
           admitted first-year student to ask why they have accepted or
           declined its offer of admission. One question reads: “How
           important a factor was diversity in choosing the school you will
           attend?” In 2011, 48 percent of those who responded said
           diversity was “Very important” (13 percent) or “Important” (35
           percent); only 19 percent said it was “Unimportant (13 percent)
           or “Very unimportant” (6 percent).
                                         10




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           much. Instead, petitioner urges the Court to deviate
           from its clearly established precedents and embrace
           a newly hewn constitutional standard that would
           create an impregnable, one-size-for-all judicial rule,
           designed to be “fatal in fact,” indeed, destined to ban,
           in practice, all use of race by any college admissions
           official ever again.
               In justification, petitioner invokes unspecified
           harms “‘to the entire body politic,’” warning of a
           “‘very real’ danger” of “racial classification[s that
           are] merely the product of unthinking stereotypes or
           a form of racial politics.” 14 But there is no convincing
           evidence to support this cry of havoc. UNC itself
           earnestly seeks to avoid harm to the body politic. It
           condemns racial stereotypes and racial politics. It
           longs for a time in which race will no longer matter,
           when no consideration of race will be necessary in
           college admissions. Yet UNC knows first-hand, from
           the daily experience of its skilled educators, that this
           time has not yet arrived. To the contrary, it believes
           that    rigid   judicial      decrees    forbidding    all
           consideration of race in college admissions would
           inadvertently bring far greater societal harms and
           invite far more widespread racial stereotyping than
           the narrowly tailored, good-faith use of the practice
           at which petitioner takes dead aim.




           14   Pet’r’s Br. 33 (internal citation omitted).
                                              11




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                                ARGUMENT
          I.   THE UNIVERSITY OF NORTH CAROLINA
               AND OTHER PUBLIC UNIVERSITIES HAVE
               A COMPELLING STATE INTEREST IN
               PREPARING STUDENTS FOR A DIVERSE
               SOCIETY AND ASSURING A POOL OF
               STRONG STATE LEADERS BY ADMITTING
               UNDERGRADUATES DRAWN FROM EVERY
               BACKGROUND
               A. The    University     Has    Developed    an
                  Individualized, Holistic Review of Applicants
                  as Its Narrowly Tailored Approach to
                  Prepare Graduates for the State’s Diverse
                  Future
                For more than 160 years, from the day UNC
            opened its doors to its first undergraduate student in
            1795 until the mid-1950s, African American and
            Native American families knew that those selfsame
            doors were firmly closed to even their brightest
            children. Both during slavery and the long era of
            strict educational segregation that followed the Civil
            War, although African American communities
            constituted some 21-36% of the State’s population,
            and although these communities desperately needed
            university-trained teachers, doctors, lawyers, social
            workers, nurses, pharmacists, and business leaders,
            these families derived minimal assistance from
            UNC, except on terms circumscribed by the State’s
            white majority.
                In the early 1930s, the NAACP began to
            challenge this long pattern of exclusion in North
            Carolina, taking up the case of Thomas Hocutt, an
            African American graduate of the North Carolina
                                     12




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           College for Negroes who had been denied admission
           to the UNC School of Pharmacy. 15 Hocutt lost his
           case, and it was not until 1951 that the NAACP,
           through counsel Thurgood Marshall, again sued the
           University, this time on behalf of young Floyd
           McKissick and three other African American
           students who sought admission to the UNC School of
           Law. Under this Court’s newly announced principle
           in Sweatt v. Painter, 16 McKissick and his fellow
           plaintiffs eventually prevailed in the United States
           Court of Appeals for the Fourth Circuit and became
           the first post-baccalaureate students admitted to
           University. 17 Four years later, on the heels of this
           Court’s pivotal ruling in Brown v. Board of
           Education, the first cohort of African American male
           undergraduates were admitted to the University,
           albeit with reduced privileges and benefits. The first
           African American woman was not admitted until
           1963.
               The following two decades witnessed continuing
           efforts to transform UNC from an all-white
           institution into one that reflects our diverse society.
           In 1977, in Adams v. Richardson, the United States
           District Court for the District of Columbia ruled that
           North Carolina and five other Southern states would

           15Richard Kluger, Simple Justice: The History of Brown v.
           Board of Education and Black America’s Struggle for Equality
           155-158 (1975).
           16   339 U.S. 629 (1950).
           17McKissick v. Carmichael, 187 F.2d 949 (4th Cir. 1951), cert.
           denied, 341 U.S. 951 (1951). See William D. Snider, Light on
           the Hill: A History of the University of North Carolina at
           Chapel Hill 247 (1992).
                                        13




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           lose federal funding until they complied with Title
           VI of the Civil Rights Act of 1964 by increasing
           enrollment of black students in historically white
           colleges and universities. 18 After being threatened a
           second time in 1979 with a cutoff of federal funding
           for lack of progress, the consolidated UNC system
           entered into a consent decree that spelled out a
           specific plan for desegregating all of its sixteen
           constituent campuses.
               Thereafter, through firm leadership and
           responsive administrative action, UNC rapidly
           became a more racially diverse campus. 19 In recent
           years, guided now by its affirmative desire to
           enhance the educational experience of all students
           and to strengthen leadership of the region, UNC has
           pursued admissions practices that welcome to
           Chapel Hill the finest students from every
           background, nurturing them, pushing them to grow,


           18   351 F.Supp. 636 (D.D.C. 1972)
           19 See, e.g., Marcia G. Synnott, The Evolving Diversity
           Rationale in University Admissions: From Regents v. Bakke to
           the University of Michigan Cases, 90 CORNELL L. REV. 463, 499
           (2005) (“As of the fall of 2003, the . . . highest ranked
           universit[y], not including the Ivy League, with the largest
           enrollment[] of black undergraduates [was] UNC-Chapel
           Hill[.]”) (citing Leaders and Laggards: Rankings of Black
           Enrollments at the Nation’s 50 Highest-Ranked Universities, J.
           BLACKS HIGHER EDUC., Autumn 2003, at 76). See generally
           Charles E. Daye, People: African-American and Other Minority
           Students and Alumni, 73 N.C. L. REV. 675, 686–92 (1995)
           (identifying the 1970s as “a new era” at UNC Law in terms of
           welcoming minority students and faculty); accord William B.
           Aycock, An Evolving Institution: The Deanship of Robert Gray
           Byrd (1974-79), 73 N.C. L. REV. 622, 623–24 (1995).
                                          14




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           and sending them forth to serve as effective
           leaders. 20
                 B.      The University’s Admission Practices
                         Offer a Fair and Individualized
                         Assessment of Each Applicant in Which
                         Consideration of Race Plays a Modest
                         Though Useful Role
               Ranked the fifth best public university in the
           country, the University has carefully crafted
           admissions policies that in 2011 selected an entering
           class of 3,960 students from a pool of 29,486
           applicants. 21 UNC has reviewed its admissions
           policies several times in the years since the Grutter
           decision, each time deciding that diversity is an
           essential part of the undergraduate experience. To
           achieve diversity in a fair and individualized
           manner, each applicant is assessed using more than

           20 UNC has been repeatedly recognized for its efforts in
           recruiting and retaining minority students. For example, UNC
           is among the top 100 U.S. colleges and universities awarding
           undergraduate degrees to minority students, according to a
           2011 issue of Diverse: Issues in Higher Education magazine.
           UNC was also “2nd among major U.S. universities in the
           percentage of African-American students in the 2008 first-year
           class, according to The Journal of Blacks in Higher Education.
           Carolina had held the No. 1 spot for six of the previous nine
           years. Black students made up 10.8 percent of the entering
           class in 2008.” See Facts About Carolina. UNC News (Feb.
           2012), http://uncnews.unc.edu/content/view/30/97/.
           21 As part of the admissions process, applications are randomly
           assigned among UNC Admissions staff. Each application is
           read by at least two admissions officers.           Periodically,
           applications are read by committees formed of six to seven
           admissions officers to assure consistency in decision-making
           and opportunities for additional consideration.
                                          15




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           forty criteria, grouped in the areas of academic
           performance, academic program, standardized
           testing, extracurricular activity, special talent,
           essay, background, and personal criteria.
               Race may be considered if the applicant chooses
           to provide such identifying information, 22 but only as
           an additional ‘plus’ factor in this comprehensive
           review. Applicants are never separated into different
           racial groups. 23 There are no raw number or
           percentage goals that the University is working to
           achieve. While the University consults census data
           about the racial makeup of the State’s population, it
           does not seek proportionality in its entering classes.
           Instead, the comparison is used as a rough way to
           assess whether the University is fostering a
           scholarly community that allows students to learn
           from classmates whose backgrounds, experiences,
           and perspectives will help them prepare for the
           challenges they will someday face as leaders.
           Consistent with Grutter, the University believes
           that enrolling a “critical mass” of non-white students


           22 This demographic information is requested but not required.
           Students are encouraged to describe a range of background
           factors to help UNC understand the multiple contexts in which
           each student lives, including, for example, languages spoken at
           home, interruptions in secondary school enrollment, occupation
           or education level of parents or guardians, and whether other
           family members have attended the University.
           23   Cf. Parents Involved in Cmty. Sch. v. Seattle Sch. Dist. No
           1,    551 US 701, 706 (2007) (Kennedy, J., concurring)
           (contending that school districts should be “free to devise race-
           conscious measures to address the problem in a general way
           and without treating each student in different fashion solely on
           the basis of a systematic, individual typing by race”).
                                          16




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           helps ensure that no student feels singled out as
           merely a token of his or her race. When known, an
           applicant’s race is always viewed in the context of
           the entire application, mindful of all the
           contributions a student might make.
               The University’s multi-faceted holistic review is
           also the means by which “individual assessment is
           safeguarded through the entire process.” 24 The
           process eschews the “numerical concept of critical
           mass,” which Justice Kennedy warned “has the real
           potential to compromise individual review.” 25 The
           consideration of an applicant’s race as a non-
           predominant part of the whole person recognizes
           that “critical mass” is principally a qualitative, not a
           quantitative, value. The University’s individualized
           admissions process has been refined through ongoing
           internal research, review and revision, prompted by
           its compelling educational interest in achieving
           meaningful diversity, in assembling the strongest
           possible entering class, and in respecting diversity’s
           appropriate scope and limits. 26



           24   Grutter, 539 U.S. at 392–93 (Kennedy, J., dissenting).
           25   Id. at 389.
           26 In a 2010 article reflecting on racial diversity in higher
           education, former Justice Sandra Day O’Connor called for more
           research and analysis of this critical educational and
           constitutional issue. Sandra Day O’Connor & Stewart L.
           Schwab, Affirmative Action in Higher Education over the Next
           Twenty-five Years: A Need for Study and Action, in The Next
           Twenty-Five Years: Affirmative Action in Higher Education in
           the United States and South Africa, 58, 58–73 (David L.
           Featherman et al. eds., 2010).
                                            17




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                This approach has been vindicated by outside
           analysis which has affirmed that UNC admissions
           officials are exceptionally skilled in applying this
           individualized process. In a 2007 analysis of
           admissions and graduation rates at colleges and
           universities nationwide, William Bowen, a labor
           economist and former president of Princeton, found
           that students admitted to UNC but enrolling
           elsewhere graduated at higher rates than students
           with similar high school test scores and grade-point
           averages who had not been admitted. 27          The
           differences in performance were consistent and in
           some cases dramatic; students who had been
           admitted to UNC graduated at rates 15 percentage
           points higher than those denied admission at UNC
           who enrolled in another research university. Such
           large differences among similarly-credentialed
           students—students whose scores and grades would
           have rendered them indistinguishable in a formulaic
           approach to admissions—vindicates the exceptional
           effectiveness, at least in North Carolina, of using
           holistic admissions review rather than any rigid
           mathematical or mechanical formula, such as the
           Texas Top Ten Percent Plan.




           27Interview with Stephen Farmer, UNC Vice Provost for
           Enrollment and Undergraduate Admissions, in Chapel Hill, NC
           (May 24, 2012).
                                       18




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                 C.      The University Has Strong Empirical
                         Evidence That a Racially Diverse
                         Collegiate Setting Substantially Benefits
                         Its Students and Helps Fulfill Its
                         Broader Mission to the State
               UNC offers its undergraduates a series of
           educational experiences that benefit them and the
           larger society they eventually join. Over four years,
           undergraduates are introduced to sophisticated
           ideas in science, mathematics and the humanities.
           They are also invited to reflect on the past, the
           present, and their society’s deepest values and
           commitments. Through a wide range of extra-
           curricular activities – student government, school
           newspapers, public service organizations, ROTC,
           athletics, and band -- UNC deliberately provides
           opportunities for students to engage in socially
           useful activities and to learn to cooperate with
           others from different racial and ethnic backgrounds.
           These too are crucial educational moments, and they
           build skills upon which most graduates will rely
           throughout their adult lives.
               But can the benefit of this broad exposure to
           diversity in various contexts and settings be
           quantified? One recently completed and published
           meta-analysis, the EDP Study, 28 initiated in 2002,
           demonstrates a clear positive relationship between

           28The EDP study, conceived in the era of Grutter, focuses on
           law school students.      However, the study’s findings that
           students of different races bring differences to their educational
           settings, and that these differences offer positive educational
           benefits to all students, has direct implications for
           undergraduates and others in higher education settings.
                                          19




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           racial diversity and educational benefit. 29 The EDP
           Study has analyzed two empirical questions in a law
           school setting: (1) do students differ by race in
           significant ways upon admission; and, if so, (2) do
           these differences provide unique educational benefits
           to students, to the institutions they attend, or to
           society? 30
               The EDP Study examines the first question by
           looking at students according to six “diversity
           construct” areas: (1) personal background (race,
           gender,     geographic      origin,    marital    status,
           religion/spirituality, education, work experience); (2)
           family background (socio-economic status, family
           size, culture, traditions); (3) experience (positive and
           negative life experiences that might influence a
           student’s perspective); (4) educational expectations
           (predispositions that students bring to curricular
           interpretations, classroom dialogues, and co-
           curricular interactions); (5) career goals and
           aspirations (including reasons for pursuing higher
           education); and (6) perspectives (differences in
           values, beliefs, political orientation).31

           29   Id. at 48-53, 74-76.
           30   Id. at 7.
           31 The study’s authors note: “It has been persuasively argued
           that a group of students whose members hold different beliefs
           about what is important, worthy, beautiful and good in life will
           be more likely to discover for themselves the depth and
           interminability of the disputes in which human beings find
           themselves entangled than a group of students whose members
           share values that are homogenous within the group.” Id. 19-20
           & n. 50. (citing Anthony T. Kronman, Is Diversity a Value in
           American Higher Education?, 52 Fla. L. Rev. 861 (2000).
           Justice Powell made this same observation in Bakke: “People
                                         20




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               The EDP Study examines the second question—
           the impacts of diversity on educational settings—
           through a tripartite structure derived from
           Grutter. 32   First it considers diversity’s ‘direct
           impacts’ (the individual domain); it next considers
           ‘derivative impacts’ (the institutional domain); and
           finally, ‘mediated impacts’ (the societal domain).
           Direct impacts enhance individual students’
           educational experiences. 33       Derivative impacts
           prompt an increased range of activities and
           programs on campus, and enhance the University’s
           concomitant reputation, stature and ranking. 34
           Mediated impacts enhance the ability of students to
           succeed later in life, in diverse communities, and to
           contribute meaningfully to society.
               To focus on just one example, a university might
           set a goal to “achieve a mix of students who will
           respect and learn from each other.” Accomplishing
           this goal would have a direct impact in the
           individual domain by advancing learning among
           students; it would have a derivative impact by

           do not learn very much when they are surrounded only by the
           likes of themselves.” Bakke, 438 U.S. at 312 n.48 (quoting
           William G. Bowen, Admissions and the Relevance of Race,
           Princeton Alumni Weekly 7, 9 (Sept. 26, 1977). He then went
           further, noting that “it is not too much to say that ‘the nation’s
           future depends upon leaders trained through wide exposure’ to
           the ideas and mores of students as diverse as this Nation of
           many peoples.” Bakke, 438 U.S. at 313 (quoting Keyishian v.
           Bd. of Regents of Univ. of State of N.Y., 385 U.S. 589, 603
           (1967)).
           32   Grutter, 539 U.S. at 329–33.
           33   Id. at 50-51.
           34   Id. at 51.
                                           21




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           enhancing the university as a place in which
           students can learn; and it would have a mediated
           impact on society by improving students’ learning
           and preparing students to succeed in a diverse
           society and global world. 35
               The detailed, longitudinal analysis of the EDP
           Study reaches important conclusions that support
           UNC’s careful and judicious consideration of race in
           its admissions process. The analysis also confirms,
           through empirical statistical data, UNC’s conclusion,
           recognized by the Grutter majority, that racial
           diversity can be a compelling governmental interest.
           The EDP Study additionally supports the continuing
           need to utilize affirmative means to achieve
           meaningful, educationally beneficial diversity.
                The EDP Study’s conclusions were intuitively
           recognized by this Court as early as 1950, when
           Chief Justice Vinson noted in Sweatt v. Painter that
           “[f]ew students. . . would choose to study in an
           academic vacuum, removed from the interplay of
           ideas and the exchange of views . . . . With . . . a
           substantial and significant segment of society
           excluded, we cannot conclude that the education
           offered . . . is substantially equal to that” in a
           racially diverse setting. 36
               This is the key insight about the value of
           educational diversity. The “contribution of diversity”
           that Justice Powell described in Bakke, includes

           35 The EDP Study at 52-53. Table 12 (p. 54) analyzes goals.

           Table 13 (p. 55) analyzes actions. Table 14 (p. 56) analyzes
           outcomes.
           36   339 U.S. 629, 634 (1950).
                                            22




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           those “experiences, outlooks, and ideas that enrich
           the training of its student body and better equip its
           graduates to render with understanding their vital
           service to humanity.” 37 Justice Powell clearly saw
           the value of race-conscious college admissions, not
           just as a backward-facing remedial effort but as a
           forward-looking interest in building a competent,
           college-trained future work force. As reaffirmed in
           Grutter and demonstrated empirically in the EDP
           Study, a holistic admissions process in which race
           plays some modest role remains the most effective, if
           not indeed the only realistic and workable, way to
           achieve the full measure of meaningful diversity that
           will serve UNC’s compelling interests to educate,
           train and best serve the people of North Carolina. 38
                  D.      The State of North Carolina Has
                          Substantially Benefited From a Flow of
                          Well-Trained    University     Graduates
                          Educated in Racially Diverse Settings
               UNC’s experience has been that racial diversity
           offers more than lifelong, transformative educational
           benefits to individual graduates. Thousands of the
           State’s corporations and small businesses, its
           hospitals and schools, its legislative chambers and
           courtrooms, now count on UNC graduates who are
           better prepared for public or private life because of
           college experiences which have taught them to thrive
           in interracial and multi-ethnic settings. In recent


           37   Bakke, 438 U.S. at 314.
           38 The EDP Study contains many additional findings that are
           pertinent to the Court’s consideration of this case. We commend
           it to the Court’s careful attention.
                                          23




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           decades, UNC has sent scores of alumni, broadened
           by their campus experiences, into important
           professional or business positions in the State of
           North Carolina. 39
                In the field of law alone, the University has
           provided the State with five of its eight most recent
           governors, all seven of its current members of the
           North Carolina Supreme Court, and its first African
           Americans serving as Associate Justice and Chief
           Justice of the North Carolina Supreme Court, its
           first African American federal district judge, its first
           Native American state judge, many non-white State
           legislators, judges, federal and state prosecutors, a
           university chancellor, and an array of African
           American state and local bar leaders, as well as




           39 Among UNC’s living alumni who have earned degrees, the
           following self-reported, UNC Alumni Office data suggest how
           many have moved into important professional or business
           positions in the State of North Carolina in recent decades:

                Lawyers/Attorneys:        4953         (959-nonwhite)
                CEOs:                     324          (17-nonwhite)
                Executive Directors:      503          (42-nonwhite)
                Teachers:                 4458         (319-nonwhite)
                Nurses:                   2572         (243-nonwhite)
                Pharmacists:              3247         (190-nonwhite)
                Presidents:               2983         (111-nonwhite)

           Email from Roger Nelsen, UNC Director of Alumni Records and
           Information Systems, to Catherine Pierce, UNC School of Law
           Assistant Dean for Policy (June 26, 2012, 9:38 a.m.) (on file
           with Catherine Pierce).
                                        24




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           many prominent private firm practitioners and
           corporate directors. 40
               This is not the parochial experience of UNC
           alone. Briefs filed by corporations, military officials
           and others in Grutter, as the Court knows, have
           attested to the special and irreplaceable skills that
           graduates of racially diverse colleges bring to the
           nation’s corporate workplaces, its armed forces, and
           to American political and economic life.
           II. PETITIONER’S PROPOSED REVISION OF
               BAKKE AND GRUTTER WOULD CREATE A
               NEW,    STRICTER     STANDARD    FOR
               UNIVERSITY ADMISSIONS THAT WOULD
               UNDO DECADES OF SUPREME COURT
               JURISPRUDENCE, MATERIALLY WEAKEN
               THE EDUCATION OFFERED BY UNC AND
               OTHER   PUBLIC   UNIVERSITIES,   AND
               DIMINISH THE CAPACITY OF THEIR
               GRADUATES    TO   WORK     AND  LEAD
               EFFECTIVELY IN THE 21st CENTURY
                A. Petitioner’s Proposal Would Jettison Three
                   Decades of Jurisprudence and Erect a New,
                   Effectively Impregnable Barrier To the
                   Consideration of Race in Undergraduate
                   Admissions
                Petitioner proposes a new version of the Court’s
           traditional two-pronged “strict scrutiny” test under
           the Equal Protection Clause that would tighten each
           of its elements, thereby creating a doctrinal barrier

            See generally, Charles E. Daye, African-American and Other
           40

           Minority Students and Alumni, 73 N.C. L. Rev. 675, 681-704
           (1995).
                                       25




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           high enough to condemn any limited use of race by
           the respondents. Indeed, petitioner’s “super-strict-
           scrutiny” would likely bar consideration of race by
           virtually every public university or governmental
           actor in any future context, except in remediating an
           adjudicated wrongdoing.
                The Court has never before accepted such an
           absolute position. To the contrary, it has offered
           assurance as recently as Grutter, that “strict
           scrutiny is not ‘strict in theory but fatal in fact,’”
           and, that “not all [governmental uses of race] are
           invalidated by it.” 41 The Grutter Court stressed that
           “[c]ontext matters,” and that strict scrutiny should
           be seen as a device “designed to provide a framework
           for carefully examining the importance and the
           sincerity of the reasons advanced by the
           governmental decision maker for the use of race in
           that particular context.” 42
               In the very context now under consideration—
           higher education— Grutter recognized “a compelling
           interest in attaining a diverse student body.” 43 In so
           doing, the Court deferred to the University of
           Michigan Law School’s “educational judgment that
           such diversity is essential to its educational
           mission.” 44 This approach also recognized the
           important First Amendment rights of public
           universities, “in keeping with [its] tradition of giving

           41 Grutter, 539 U.S. at 326–27 (2003) (quoting Adarand

           Constructors, Inc. v. Pena¸ 515 U.S. 200, 237 (1995)).
           42   Id. at 327.
           43   Id. at 328.
           44   Id.
                                     26




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           a degree of deference to a university’s academic
           decisions,     within    constitutionally    prescribed
           limits.” 45 The Court cited earlier cases invoking that
           principle, including Justice Powell’s opinion in
           Bakke. 46 Justice Powell in turn had looked to
           Justice Frankfurter, who laid the constitutional
           groundwork for a claim of educational autonomy in
           1957, citing among a university’s ‘four essential
           freedoms’ the choice of “who may be admitted to
           study.” 47 Justice Powell’s “wide discretion” naturally
           evolved into what Justice O’Conner meant by the
           term “deference” in Grutter. Such discretion (or
           deference), however, does not weaken, but rather
           informs, strict scrutiny.


           45   Id. at 328.
           46Id. at 328–29 (citing Regents of Univ. of Mich. v. Ewing, 474
           U.S. 214, 225 (1985); Board of Curators of Univ. of Mo. v.
           Horowitz, 235 U.S. 78, 96 n.6 (1978); and Bakke, 438 U.S. at
           319 n.53).
           47 Justice Powell explained: “Academic freedom, though not a
           specifically enumerated constitutional right, long has been
           viewed as a special concern of the First Amendment. The
           freedom of a university to make its own judgments as to
           education includes the selection of its student body. Mr. Justice
           Frankfurter summarized the ‘four essential freedoms’ that
           constitute academic freedom: ‘It is the business of a university
           to provide that atmosphere which is most conducive to
           speculation, experiment and creation. It is an atmosphere in
           which there prevail the four essential freedoms of a university -
           - to determine for itself on academic grounds who may teach,
           what may be taught, how it shall be taught, and who may be
           admitted to study.’” Bakke, 438 U.S. at 312 (quoting Sweezy v.
           New Hampshire, 354 U.S. 234, 263 (1957) (Frankfurter, J.,
           concurring) (citation omitted) (internal quotation marks
           omitted)).
                                          27




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               The Grutter majority concluded that student
           diversity was a compelling interest only after
           assessing diversity’s specifically identified benefits to
           the Law School—including the promotion of better
           learning outcomes, an increase in cross-racial
           understanding, better preparation of students for an
           increasingly diverse workforce and society, better
           preparation for professional responsibilities, and the
           cultivation of leaders with legitimacy in the eyes of
           the citizenry. 48    Finding those benefits to be
           “substantial,” the Court held that they sufficed to
                         49

           justify a cognizable “compelling interest” in student
           body diversity. 50
               Turning to the “narrow tailoring” branch of strict
           scrutiny, Grutter reemphasized that this test was
           not meant to forestall, in practice, all race-conscious
           actions by a governmental actor, but instead “to
           ensure that ‘the means chosen fit th[e] compelling
           goal so closely that there is little or no possibility
           that the motive for the classification was illegitimate

           48   Grutter, 539 U.S. at 330–32.
           49   Id. at 330.
           50Justice Kennedy’s opinion in Parents Involved in Community
           Schools v. Seattle School District No. 1, similarly concluded
           that the consideration of race can be part of a compelling
           governmental interest. He wrote that “parts of the [plurality]
           opinion . . . imply an all-too-unyielding insistence that race
           cannot be a factor in instances when, in my view, it may be
           taken into account.” 551 U.S. 701, 787 (2007) (Kennedy, J.,
           concurring). Moreover, “the plurality’s postulate that ‘[t]he
           way to stop discrimination on the basis of race is to stop
           discriminating on the basis of race,’ is not sufficient to decide
           these cases.” Id. at 788 (quoting plurality opinion, 551 U.S. at
           748).
                                           28




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           racial prejudice or stereotype.’” 51 Furthermore, the
           Court emphasized that context also counts when
           assessing narrow tailoring: “[T]he contours of the
           narrow-tailoring inquiry with respect to race-
           conscious university admissions programs . . . must
           be calibrated to fit the distinct issues raised by the
           use of race to achieve student body diversity in
           public higher education.” 52 While no quota system is
           ever appropriate, the Court declared that narrow
           tailoring is not violated when “a university . . .
           consider[s] race or ethnicity . . . as a ‘plus’ in a
           particular applicant’s file, without insulat[ing] the
           individual from comparison with all other candidates
           for the available seats.” 53
               Finally, in analyzing a claim identical to the
           primary one now made by petitioner, Grutter
           rejected the contention that the Michigan plan was
           not narrowly tailored simply because race-neutral
           means might have been substituted:


           51Grutter, 539 U.S. at 333 (quoting Richmond v. J.A. Croson
           Co., 488 U.S. 469, 493 (1989) (plurality opinion) (internal
           quotation marks omitted)).
           52   Id. at 333–34.
           53Id. at 334 (internal quotation marks omitted). That a race-
           conscious admissions program does not operate as a quota does
           not, by itself, satisfy the requirement of individualized
           consideration. When using race as a “plus” factor a university’s
           admissions program must remain flexible enough to ensure
           that each applicant is evaluated as an individual and not in a
           way that makes an applicant’s race the defining feature of the
           application.   The    importance    of    this   individualized
           consideration in the context of a race-conscious admissions
           program is paramount. Id. at 336–37.
                                         29




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                  Narrow tailoring does not require exhaustion
                  of every conceivable race-neutral alternative.
                  Nor does it require a university to choose
                  between maintaining a reputation for
                  excellence or fulfilling a commitment to
                  provide     educational    opportunities    to
                  members of all racial groups. . . . Narrow
                  tailoring does, however, require serious, good
                  faith consideration of workable race-neutral
                  alternatives that will achieve the diversity
                  the university seeks. 54
           The Court specifically rejected an idea that a law
           school might be required to consider a race-neutral
           lottery system to select among its applicants, since to
           do so would “require a dramatic sacrifice of diversity,
           the academic quality of all admitted students, or
           both.” 55 Thus good-faith consideration of race-
           neutral alternatives does not require admissions
           officials to substitute a mechanical formula for a
           system based on individual consideration of all
           applicants, so long as that consideration is narrowly
           tailored to achieve the compelling interest of
           assembling a diverse student body.
               Petitioner would turn the strict scrutiny regime
           re-affirmed in Grutter on its head. First, she
           proposes a new dichotomy, not recognized in
           Grutter, to circumscribe radically the legitimate
           goals a university might pursue, suggesting that the
           Court has endorsed diversity only in support of a
           school’s “inward-facing concerns”, not any “outward-

           54   Id. at 339.
           55   Id. at 340.
                                       30




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           facing” concerns about the relationship between its
           classes and the broader needs of society. 56 However,
           the Court recognized and accepted such concerns in
           Grutter, specifically: (1) Michigan’s desire to create
           diversity to “prepare[] students for an increasingly
           diverse workforce and society;” 57 (2) its desire to
           “better prepare[] [students] as professionals;” 58 and
           (3) its desire “to cultivate a set of leaders with
           legitimacy in the eyes of the citizenry” so that the
           “path to leadership,” from the law school to the
           larger society, would be “visibly open to talented and
           qualified individuals of every race and ethnicity.” 59
               Second, with absolutely no attention to “context,”
           petitioner proposes to import the “strong basis in
           evidence” rule – a demand for an exceptionally
           rigorous factual inquiry limited heretofore by the
           Court to public contracting, public employment, and
           Section 5 voting cases – into the very different world
           of higher education. 60 In these other contexts, where
           56   Pet’r’s Br. 26.
           57   Grutter, 539 U.S. at 330.
           58   Id.
           59   Id. at 332.
           60 Petitioner quotes Justice Kennedy in support of her

           contention that a strong basis in evidence is required. In fact,
           Justice Kennedy’s dissent in Grutter made a far more nuanced
           point by demanding not a “strong basis in evidence” but only
           some “empirical evidence.”      Grutter, 539 U.S. at 387-88
           (Kennedy, J., dissenting). As Justice Kenndy’s comments
           highlight, the strong basis in evidence test is more
           appropriately suited to the remedial model of diversity in
           employment and contracting cases, not the forward focused,
           compelling interest model of diversity recognized in higher
           educational contexts.
                                            31




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           the question is whether particular local or regional
           actors should be allowed to exercise race-conscious
           choices for quasi-remedial purposes, the Court has
           rightly called for a close evidentiary examination of
           whether the announced needs are sufficiently
           ‘compelling’ to justify what might easily become a
           political ‘spoils system.’
               In the realm of higher education, by sharp
           contrast, the Court in Grutter – after extensively
           examining the educational justifications for racial
           diversity– reached a broad legal conclusion that
           there indeed exists a “compelling interest in a
           diverse student body.” 61 Grutter identified multiple,
           overlapping compelling interests, none of them
           ‘remedial,’ none limited to Michigan Law School
           alone, but all instead founded in the educational
           objective to create positive learning conditions that
           benefit all students and the societies they will
           eventually service. While careful evidentiary
           scrutiny remains appropriate in evaluating whether
           different colleges and universities have in fact
           tailored their diversity policies lawfully, the
           underlying lawfulness of student diversity itself has
           become, in Grutter, a binding principle of law that
           surely need not be relitigated in every subsequent
           case. For student diversity to be declared
           “compelling” at Michigan but not at Michigan State,
           permissible at Berkeley but not at UCLA, would be
           irrational, given the common goals virtually all
           institutions of higher education share.



           61   Grutter, 539 U.S. at 329; see also id., 330-33.
                                             32




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               Third, petitioner levels a Goldilocks-like
           complaint against the University of Texas at
           Austin’s plan under the narrow tailoring branch,
           sometimes suggesting that Texas’ consideration of
           race is “too large” since “race is a factor in admission,
           placement, or both for every in-state undergraduate
           applicant,” 62 and at other times complaining that
           Texas’s consideration is too small, since “UT’s use of
           race has had an infinitesimal impact on critical mass
           in the student body as a whole,” 63 Tellingly,
           petitioner never concedes a context in which racial
           consideration would be “just right,” and instead
           argues implicitly that use of race is never
           permissible. In effect, petitioner would require a
           policy approach with a degree of precision rarely if
           ever attainable in the real world.
                  B. Requiring    UNC      and   Other    Public
                     Universities to Adopt an Ostensibly ‘Race-
                     Neutral’ Alternative Such As the Texas Ten
                     Percent Plan Would Weaken the Overall
                     Strength of UNC’s Entering Classes, Exclude
                     Some of the Strongest Applicants, and
                     Undermine Its Compelling Interest in
                     Achieving Meaningful Diversity
                What would happen if UNC were required to end
           its flexible, holistic admissions practice in favor of a
           mechanical, ostensibly “race-neutral” system, such
           as the Texas Ten Percent Plan, to attain diversity?
           One answer is clear: many of UNC’s brightest and

           62   Pet’r’s Br. 8.
           63Pet’r’s Br. 10 (citation omitted) (internal quotation marks
           omitted).
                                        33




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           most promising future students, both white and non-
           white, would be denied admission. Indeed, the UNC
           Admissions Office has calculated the impact of such
           a change on the class entering the University in the
           fall of 2012. Drawing on extensive, individualized
           data on all high school seniors across the State, it
           calculates that imposing a Top Ten Percent plan in
           2012 would increase by only 1% the overall
           percentage of non-white and underrepresented
           students who would enroll at Chapel Hill (from 15%
           to 16%).
               Yet that choice would simultaneously depress
           almost every other indicator of academic quality. For
           example, average entering SATs in the fall of 2012
           would decline by more than 50 points, from 1317 to
           1262. Predicted first-year GPA averages among
           freshman students would dip from 3.26 to 3.16.
           Moreover, applicants who did not rank in the top
           10% of their high school classes, would face far
           fiercer competition for the few open seats after the
           top 10% had been selected. The UNC Admissions
           Offices estimates that a non-top 10% student who
           applied to the University would see her chances of
           admission reduced from 31% (under UNC’s present
           individualized, holistic system) to 10% (under a Top
           Ten Percent system).
                In effect, reliable data suggest that a Top Ten
           Percent plan would be a significantly less
           satisfactory admissions system for UNC in most
           respects. The University would experience a
           negligible, 1% increase in non-white students,
           bought through a 56 point average decline in
           average SAT scores, a 0.10 point fall in predicted
           first year GPAs, and a far narrower window of
                                    34




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           opportunity for admission among white and non-
           white applicants who were not in the top 10% of
           their high school classes. Many of the non-white and
           white students UNC most wanted to enroll could not
           be admitted.
               Were the state’s schools and school districts all
           equally strong and their populations evenly
           distributed by race, a Top Ten Percent policy might
           have far less devastating educational effect. Yet in
           2012, North Carolina school districts are
           characterized (as are school districts in many other
           states) by wide educational disparities and
           inequities well-documented over the past eighteen
           years     during    the    State’s   ongoing    school
           finance/school adequacy litigation, Leandro v.
           State. 64 Because of these disparities, any top 10%
           admissions policy in North Carolina would create a
           disturbing irony: less-well-prepared white and non-
           white graduates from the State’s under-financed and
           low-performing high schools would displace, in
           UNC’s entering classes, many other highly-qualified
           “second 10%” graduates from some of the state’s
           stronger and more competitive high schools,
           resulting in a less selective and less well-rounded
           class in conflict with the University’s mission and in
           contravention of the University’s First Amendment
           rights to determine for itself who is admitted to
           study.
               Under such a system, UNC anticipates that
           many of the new “automatic admits” would quickly
           find themselves educationally lost amid the faster


           64   346 N.C. 336, 488 S.E.2d 249 (1997).
                                           35




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           pace of Chapel Hill—flocking to remedial courses to
           overcome their relatively weak secondary school
           education and facing increasingly difficult challenges
           to reach graduation. At the same time, UNC would
           be obliged to reject other white and non-white
           applicants with far better academic preparation –
           familiar with advanced geometry and calculus,
           acquainted with biochemistry, veterans of a string of
           Advanced Placement courses -- simply because they
           had not made the rigid top 10% cut in one of North
           Carolina’s stronger school districts.
               In fact, after analyzing the entering credentials
           of several recent classes at UNC, the Admissions
           Office has found another basis for concern about a
           “Top Ten Percent” approach. Among the cohort of the
           391 first year students who made the Dean’s List in
           the spring of 2012, 82, or 21%, had been outside the
           top 10% of their high school classes. In addition,
           among the 12 UNC undergraduate students who
           were named Fulbright Scholars in 2011–2012, five
           ranked outside the top 10% of their high-school
           graduating class. Among the graduating seniors
           inducted into Phi Beta Kappa in the fall of 2010,
           nearly 15%, ranked outside the top 10% of their high
           school graduating classes. These Phi Beta Kappa
           graduates and Fulbright Scholars included
           recipients of campus, state, and national
           postgraduate fellowships, as well as several
           university-wide awards for leadership and service.
           None of them would have qualified for automatic
           admission under the Texas Ten Percent Plan.




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                              CONCLUSION
               Each year, especially since the 1970s, UNC and
           thousands of other American colleges and
           universities have brought into close proximity—often
           for the first time in their lives—large numbers of
           racially diverse students. They have lived together in
           dormitories, eaten together in student cafeterias,
           worked together on student newspapers and
           politicked together in student government. They
           have played together on athletic fields, learned
           together in classrooms, and socialized together in
           clubs and organizations. After graduation, they have
           become part of a more racially diverse American
           workforce, a more racially heterogeneous military
           and officer corps, a more racially inclusive political
           system, and indeed, a more diverse judiciary.
               The special mission of public colleges and
           universities to train and sustain this multi-racial
           society constitutes a compelling interest of the very
           highest sort. The individualized, holistic review of
           every applicant’s file, with consideration afforded to
           dozens of factors—race being only a modest
           consideration among them—is the most narrowly
           tailored means to assure both diversity and a high
           quality of successful applicants, white and non-
           white.
               Higher education, especially in residential
           settings, does far more than transmit facts and data
           to willing learners. At least since the founding of the
           residential colleges at Oxford and Cambridge, great
           universities have been among the most effective
           means to infuse, into its most talented youth,
           society’s deepest values and goals. In every
                                     37




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           generation, colleges convey powerful, implicit
           instruction, including powerful messages about “who
           counts,” and who does not. It is indispensable to
           UNC’s missions and, we earnestly believe, the future
           of the State and the nation, for 21st century
           collegians to learn the lessons that diversity teaches.
                UNC urges the Court to adhere to the judgment
           reached in Grutter in 2003, presaged by Justice
           Powell’s influential opinion in Bakke in 1978,
           intuitively recognized by Chief Justice Vinson in
           Sweatt in 1950, and followed by UNC and most
           American institutions of higher education ever since.
           The judgment of the Court of Appeals should be
           affirmed.
                        Respectfully submitted,

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